                                    Case 3:20-cv-00718-LAB-BLM Document 12-2 Filed 07/27/20 PageID.250 Page 1 of 59



                                        1   HARIRI LAW GROUP
                                        2   RAMIN R. HARIRI (SBN: 251625)
         402 West Broadway, Floor 22




                                            402 West Broadway, Suite 22
             San Diego, CA 92101




                                        3
              Hariri Law Group




                                            San Diego, CA 92101
                                        4   Tel: (619) 363-2889
                                            Fax: (619) 810-0791
                                        5   Email: ramin@haririlaw.com
                                        6
                                            KHASHAYAR LAW GROUP
                                        7   Daryoosh Khashayar, Esq. (SBN 236496)
                                        8   Taylor Marks, Esq. (SBN 308381)
                                            12636 High Bluff Drive, Suite 400, San Diego, CA 92130
                                        9   Tel.: (858) 509-1550
                                       10   Fax: (858) 509-1551
                                            Email: daryoosh@mysdlawyers.com
                                       11
                                       12   ATTORNEYS FOR PLAINTIFF
                                       13                      UNITED STATES DISTRICT COURT
                                       14                   SOUTHERN DISTRICT OF CALIFORNIA
                                       15
                                       16   JASON THOMAS, Individually and          CASE NO.: 20-cv-0718-LAB-BLM
                                            On Behalf of All Others Similarly
                                       17   Situated,
                                                                                     Hon. Larry A. Burns
                                       18                    Plaintiff,
                                                                                    DECLARATION OF DARYOOSH
12636 High Bluff Drive, Suite 400




                                       19                                           KHASHAYAR IN SUPPORT OF
                                            vs.
    Khashayar Law Group




                                                                                    SUPPLEMENTAL BRIEF, IN
      San Diego, CA 92130




                                       20
                                            COSTCO WHOLESALE                        OPPOSITION TO SUMMARY
                                       21
                                            CORPORATION; DOES 1-10,                 JUDGMENT, AND IN SUPPORT
                                       22   inclusive,                              OF PLAINTIFF’S REQUEST FOR
                                                       Defendants.                  JUDICIAL NOTICE
                                       23
                                       24
                                                                                    Action Filed on April 15, 2020
                                       25
                                       26
                                       27
                                       28                                         1
                                             ___________________________________________________________________________
                                                      DECLARATION OF DARYOOSH KHASHAYAR ISO PLAINTIFF’S
                                            SUPPLEMENTAL BRIEF, OPPOSITION TO SUMMARY JUDGMENT, AND ISO
                                                           REQUEST FOR JUDICIAL NOTICE                          20-cv-0718
                                    Case 3:20-cv-00718-LAB-BLM Document 12-2 Filed 07/27/20 PageID.251 Page 2 of 59



                                        1   I, Daryoosh Khashayar, declare as follows:
                                        2         1. I am an attorney at law duly licensed to practice before all courts of the
         402 West Broadway, Floor 22
             San Diego, CA 92101




                                        3   State of California and the United States District Court for the Southern District of
              Hariri Law Group




                                        4   California. I am a principal of the law firm Khashayar Law Group, and one of the
                                        5   attorneys of record for Plaintiff Jason Thomas in the above-captioned action.
                                        6         2. I have personal knowledge of each of the following facts, and if called
                                        7   upon to testify as to the same in a court of law, I could and would competently do
                                        8   so. In particular, I have personal knowledge of each website from which the pages
                                        9   comprising Exhibits B, C, D, E, F, and G were captured and printed. I have
                                       10   personally viewed each of these pages, and I can and do verify that each of the
                                       11   printouts submitted as Exhibits accurately reflect their contents and the image on
                                       12   the computer from which they were printed.
                                       13         3. This Declaration is made in support of Plaintiff’s Supplemental Brief,
                                       14   Opposition to Defendant’s Motion for Summary Judgment (FRCP 12(d)); and in
                                       15   support of Plaintiff’s Request for Judicial Notice.
                                       16         4. Plaintiff’s Exhibit A, attached to his Complaint, is not resubmitted
                                       17   herewith, as it consists of printouts of product pages from Apple’s website, to
                                       18   which Costco has added additional pages from the same Apple website in its
12636 High Bluff Drive, Suite 400




                                       19   Request for Judicial Notice (“RJN”) Ex. 1, 2, and 3. Plaintiff does not challenge
    Khashayar Law Group




                                            the admissibility of those pages.
      San Diego, CA 92130




                                       20

                                       21         5. Plaintiff’s submitted Exhibits are attached hereto beginning with Exhibit
                                       22   B, which was also an Exhibit to Plaintiff’s Complaint. Exhibits B through G are
                                       23   also subject to judicial notice, which is concurrently requested for each.
                                       24         6. Attached hereto as Exhibit B is a true and correct copy of Costco’s
                                       25   former website product listing page for “Apple AirPods Wireless Headphones with
                                       26   Charging Case (2nd Generation) as it existed on the date Plaintiff purchased the
                                       27   subject AirPods (on or about March 24, 2020), at that time available at
                                                                                  2
                                       28    ___________________________________________________________________________
                                                      DECLARATION OF DARYOOSH KHASHAYAR ISO PLAINTIFF’S
                                            SUPPLEMENTAL BRIEF, OPPOSITION TO SUMMARY JUDGMENT, AND ISO
                                                           REQUEST FOR JUDICIAL NOTICE                          20-cv-0718
                                    Case 3:20-cv-00718-LAB-BLM Document 12-2 Filed 07/27/20 PageID.252 Page 3 of 59



                                        1   https://www.costco.com/apple-airpods-wireless-headphones-with-charging-case-
                                        2   (2nd generation).product.100487204.html Exhibit B was captured and printed by a
         402 West Broadway, Floor 22
             San Diego, CA 92101




                                        3   member of my legal team, acting under my direction and supervision, using the
              Hariri Law Group




                                        4   computer hardware and software customarily used by my office, on March 21,
                                        5   2020.
                                        6           7. Attached hereto as Exhibit C is a true and correct copy of the pertinent
                                        7   portions of Costco’s current website product listing page for “Apple AirPods
                                        8   Wireless Headphones with Charging Case (Latest Model),” available at
                                        9   https://www.costco.com/apple-airpods-wireless-headphones-with-charging-case-
                                       10   (latest-model).product.100487204.html Exhibit C was captured and printed by a
                                       11   member of my legal team, acting under my direction and supervision, using the
                                       12   computer hardware and software customarily used by my office, on April 28, 2020.
                                       13           8. Attached hereto as Exhibit D is a true and correct copy of selected
                                       14   consumer reviews posted on Costco’s current website product listing page for
                                       15   “Apple AirPods Wireless Headphones with Charging Case (Latest Model),”
                                       16   available at
                                       17   https://www.costco.com/apple-airpods-wireless-headphones-with-charging-case-
                                       18   (latest-model).product.100487204.html Exhibit D was captured and printed by a
12636 High Bluff Drive, Suite 400




                                       19   member of my legal team, acting under my direction and supervision, using the
    Khashayar Law Group




                                            computer hardware and software customarily used by my office, on July 27, 2020.
      San Diego, CA 92130




                                       20
                                       21   These are only a few examples from the approximately 600 consumer comments
                                       22   reviewed by my office, out of over 10,000 posted.
                                       23           9. Attached hereto as Exhibit E is a true and correct copy of the pertinent
                                       24   portions of Walmart’s current website product listing page for “Apple AirPods
                                       25   with Charging Case (Latest Model),” available at
                                       26   https://www.walmart.com/ip/Apple-AirPods-with-Charging-Case-Latest-
                                       27   Model/604342441 Exhibit E was captured and printed by a member of my legal
                                       28                                         3
                                             ___________________________________________________________________________
                                                      DECLARATION OF DARYOOSH KHASHAYAR ISO PLAINTIFF’S
                                            SUPPLEMENTAL BRIEF, OPPOSITION TO SUMMARY JUDGMENT, AND ISO
                                                           REQUEST FOR JUDICIAL NOTICE                          20-cv-0718
                                    Case 3:20-cv-00718-LAB-BLM Document 12-2 Filed 07/27/20 PageID.253 Page 4 of 59



                                        1   team, acting under my direction and supervision, using the computer hardware and
                                        2   software customarily used by my office, on July 24, 2020.
         402 West Broadway, Floor 22
             San Diego, CA 92101




                                        3         10. Attached hereto as Exhibit F is a true and correct copy of the pertinent
              Hariri Law Group




                                        4   portions of Target’s current website product listing page for “Apple AirPods with
                                        5   Wired Charging Case,” available at
                                        6   https://www.target.com/p/apple-airpods-with-wired-charging-case/-/A-54191097
                                        7   Exhibit F was captured and printed by a member of my legal team, acting under
                                        8   my direction and supervision, using the computer hardware and software
                                        9   customarily used by my office, on July 24, 2020.
                                       10         11. Attached hereto as Exhibit G is a true and correct copy of the pertinent
                                       11   portions of Amazon’s current website product listing page for “Apple AirPods
                                       12   with Wired Charging Case,” available at
                                       13   https://www.amazon.com/Apple-AirPods-Charging-Latest-
                                       14   Model/dp/B07PXGQC1Q/ref=sr_1_1_sspa?crid=2VIHNFCRT1AV6&dchild=1&
                                       15   keywords=apple+airpods&qid=1595353014&sprefix=Apple+air%2Caps%2C209
                                       16   &sr=8-1-
                                       17   spons&psc=1&spLa=ZW5jcnlwdGVkUXVhbGlmaWVyPUEyTjNRVUdXTkdGV
                                       18   zUyJmVuY3J5cHRlZElkPUEwNjMyNTUxVUFBRlM0Ulg4SUEyJmVuY3J5cH
12636 High Bluff Drive, Suite 400




                                       19   RlZEFkSWQ9QTEwMDQ4NzBEQkJVSkxXUVYyT0wmd2lkZ2V0TmFtZT1zcF
    Khashayar Law Group




                                            9hdGYmYWN0aW9uPWNsaWNrUmVkaXJlY3QmZG9Ob3RMb2dDbGljaz10cn
      San Diego, CA 92130




                                       20

                                       21   Vl Exhibit G was captured and printed by a member of my legal team, acting under
                                       22   my direction and supervision, using the computer hardware and software
                                       23   customarily used by my office, on July 24, 2020.
                                       24         12. Attached hereto as Exhibit H is a true and correct copy of the
                                       25   Declaration of Danial Holzer, the original of which is concurrently submitted
                                       26   herewith for filing.
                                       27
                                                                                  4
                                       28    ___________________________________________________________________________
                                                      DECLARATION OF DARYOOSH KHASHAYAR ISO PLAINTIFF’S
                                            SUPPLEMENTAL BRIEF, OPPOSITION TO SUMMARY JUDGMENT, AND ISO
                                                           REQUEST FOR JUDICIAL NOTICE                          20-cv-0718
                                    Case 3:20-cv-00718-LAB-BLM Document 12-2 Filed 07/27/20 PageID.254 Page 5 of 59



                                        1             13. Attached hereto as Exhibit I is a true and correct copy of the Declaration
                                        2   of Behnam Tabrizi, the original of which is concurrently submitted herewith for
         402 West Broadway, Floor 22
             San Diego, CA 92101




                                        3   filing.
              Hariri Law Group




                                        4

                                        5             I declare under penalty of perjury under the laws of the United States and the
                                        6   State of California that the foregoing is true and correct to the best of my
                                        7   knowledge.
                                        8             Executed this 27th day of July, 2020 in San Diego, California.
                                        9

                                       10




                                                                                                      1
                                                                                            t
                                       11                                                    ____________________________
                                       12                                                    Daryoosh Khashayar, Declarant
                                       13

                                       14

                                       15

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                                       17

                                       18
12636 High Bluff Drive, Suite 400




                                       19
    Khashayar Law Group

      San Diego, CA 92130




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                                                                                  5
                                       28    ___________________________________________________________________________
                                                      DECLARATION OF DARYOOSH KHASHAYAR ISO PLAINTIFF’S
                                            SUPPLEMENTAL BRIEF, OPPOSITION TO SUMMARY JUDGMENT, AND ISO
                                                           REQUEST FOR JUDICIAL NOTICE                          20-cv-0718
Case 3:20-cv-00718-LAB-BLM Document 12-2 Filed 07/27/20 PageID.255 Page 6 of 59




                       EXHIBIT B
           Case 3:20-cv-00718-LAB-BLM Document 12-2 Filed 07/27/20 PageID.256 Page 7 of3/21/20,
Apple AirPods Wireless Headphones with Charging Case (2nd Generation)                   59 4:58 PM

  Delivery ZIP Code: 92128 Change


  Home / Electronics / Audio/Video / Headphones                                                                                              Print



                                                                                         Apple AirPods Wireless
                         •                       •                                       Headphones with
                                                                                         Charging Case (2nd
                                                                                         Generation)
                                                                                         ★★★★★ 4.7 (8630)
                                                                                         Item 1170991      Model MV7N2AM/A


                                                                                         Your Price              $139.99
                                                                                         $10 OFF & Free Shipping
                                                                                         $10 savings is valid 3/11/20 through 3/25/20. While
                                                                                         supplies last. Limit 5 per member. Terms & Conditions

                                                                                         Shipping & Handling: $0.00*


                                                                                         Features:
                                                                                         • Quick access to Siri by saying “Hey Siri” or setting
                                                                                           up double-tap
                                                                                         • Designed by Apple
                                                                                         • Double-tap to play or skip forward
                                                                                         • Charges quickly in the case
                                                                                         • Seamless switching between devices

                                                                                         ! Estimated delivery Friday, March 27
                                                                                           Delivery ZIP Code: 92128 Change




                                                                                               □
                                                                                         Qty     1             Add to Cart




                                                                                         Add to Registry



  Product Details                                                                           "

  Limit 5 per member



  More magical than ever.

  Now with more talk time, voice-activated Siri access, AirPods deliver an unparalleled
  wireless headphone experience. Simply take them out and they’re ready to use with all


https://www.costco.com/apple-airpods-wireless-headphones-with-charging-case-(2nd-generation).product.100487204.html                      Page 1 of 9
              Case 3:20-cv-00718-LAB-BLM Document 12-2 Filed 07/27/20 PageID.257 Page 8 of3/21/20,
Apple AirPods Wireless Headphones with Charging Case (2nd Generation)                      59 4:58 PM

  your devices. Put them in your ears and they connect immediately, immersing you in rich,
  high-quality sound. Just like magic.

  Wireless to the fullest.

  After a simple one-tap setup, AirPods are automatically on and always connected. Using
  them is just as easy. They sense when they’re in your ears and pause when you take them
  out. And the AirPods experience is just as amazing whether you’re using them with your
  iPhone, Apple Watch, iPad, or Mac.

  Performance you’ll want to hear.

  Powered by the all-new Apple H1 headphone chip, AirPods deliver a faster and more
  stable wireless connection to your devices — up to 2x faster when switching between
  active devices, and a 1.5x faster connection time for phone calls. The H1 chip also drives
  voice-enabled Siri access and delivers up to 30 percent lower gaming latency. So whether
  you’re playing games, listening to music, or enjoying podcasts, you’ll experience higher-
  quality sound.

  The power of 24-hour battery life.

  AirPods deliver an industry-leading 6.5 hours of listening time — and now up to 3 hours of
  talk time — all on one charge. And they’re made to keep up with you, thanks to a charging
  case that holds multiple charges for more than 24 hours of listening time. Need a quick
  charge? Just put AirPods back in the case for 15 minutes to get up to 3 hours of listening
  time and 2 hours of talk time. To check the battery, hold the AirPods next to your iPhone or
  ask Siri “How’s the battery on my AirPods?”



  Tech Specs
  • Weight: AirPods (each): 0.14 ounces, Charging Case: 1.34 ounces
  • Dimensions: AirPods (each): 0.65 by 0.71 by 1.59 inches, Charging Case: 1.74 by 0.84
    by 2.11 inches
  • AirPod Sensors: Dual beam-forming microphones, dual optical sensors, motion-
    detecting accelerometer, speech-detecting accelerometer


  Power and Battery
  • AirPods with Charging Case: More than 24 hours listening time,
  • AirPods (single charge): Up to 5 hours listening time, Up to 2 hours talk time 15 minutes
    in the case equals 3 hours listening time or over an hour of talk time


  System Requirements
  • iPhone, iPad and iPod touch models with iOS 12.2 or later
  • Apple Watch models with watchOS 5.2 or later
  • Mac models with macOS 10.14.4 or later

  Specifications                                                                            #

      Battery Life Up To            24 Hour

      Brand                         Apple

      Color                         White

https://www.costco.com/apple-airpods-wireless-headphones-with-charging-case-(2nd-generation).product.100487204.html   Page 2 of 9
            Case 3:20-cv-00718-LAB-BLM Document 12-2 Filed 07/27/20 PageID.258 Page 9 of3/21/20,
Apple AirPods Wireless Headphones with Charging Case (2nd Generation)                    59 4:58 PM


   Compatible with                      Apple iOS

   Connection Type                      Wireless

   Features                             Built-In Microphone

   Features                             Phone Control

   Features                             Rechargeable

   Model                                MV7N2AM/A

   Talk Time                            3 Hour

   Type of Headphones                   In-the-Ear

   Weight                               0.14 oz.




  Reviews (8630)                                                                              #


     ★★★★★ 4.7         8630 Reviews


     Search topics and reviews                   ϙ

   Reviews                                                                      Write a review



     Rating Snapshot
     Select a row below to filter reviews.

      5★                         7394
      4★                         744
      3★                         175
      2★                         73
      1★                         244


     Average Customer Ratings

     Overall   ★★★★★                        4.7


     Most Helpful Favorable Review

     ★★★★★                                                          ★   Top 250 Contributor
      Frank · 11 months ago

      Love these Airpods ...but the description is WRONG




https://www.costco.com/apple-airpods-wireless-headphones-with-charging-case-(2nd-generation).product.100487204.html   Page 3 of 9
          Case 3:20-cv-00718-LAB-BLM Document 12-2 Filed 07/27/20 PageID.259 Page 10 of3/21/20,
Apple AirPods Wireless Headphones with Charging Case (2nd Generation)                    59 4:58 PM


     This is my first set of Airpods and they are great. Please note though that
     Costco's description i… Show Full Review


     624 of 779 people found this helpful


     See more 4 and 5 star reviews


     Most Helpful Critical Review

     ★★★★★
      The Maven · 11 months ago

      Right airpod not working


     Returned my perfectly working airpods to Apple to buy this at Costco at a
     discount. Got a dud right … Show Full Review


     79 of 240 people found this helpful


     See more 1, 2, and 3 star reviews



     1–8 of 8630 Reviews                               ?     Sort by: Most Relevant    ▼     ≡

                                                                            Verified Purchaser

    ♂        ★★★★★ mDOGG · 8 months ago
             Outstanding Product!
                                                                        *


              I absolutely *love* these AirPods. I purchased them to replace a
              diﬀerent type of Bluetooth headset that I purchased a couple of
              years ago which sat around my neck and featured retractable
              earbuds. These function MUCH better on my iPhone than my
              previous ones. They include the ability to access Siri simply by
              saying "Hey Siri" as long as at least one of them is in my ear.
              Additionally, they announce Caller-ID information for incoming calls
              unlike my previous headphones.

              The battery life is exceptional. The case design is outstanding. I only
              wish they were available in black rather than white, but either way,
              they're the best wireless headphones I have ever owned.


              ✔ Yes, I recommend this product.


              Helpful?    Yes · 39   No · 3   Report




https://www.costco.com/apple-airpods-wireless-headphones-with-charging-case-(2nd-generation).product.100487204.html   Page 4 of 9
Case 3:20-cv-00718-LAB-BLM Document 12-2 Filed 07/27/20 PageID.260 Page 11 of 59




                        EXHIBIT C
          Case 3:20-cv-00718-LAB-BLM Document 12-2 Filed 07/27/20 PageID.261 Page 12 of
Apple AirPods Wireless Headphones with Charging Case (Latest Model)                     59 6:39 PM
                                                                                     4/28/20,



  Delivery ZIP Code: 92128 Change
  Lists | Reorder


  Home / Electronics / Audio/Video / Headphones & Earbuds                                                                           Print



                                                                                    Apple AirPods Wireless
                         •                       •                                  Headphones with
                                                                                    Charging Case (Latest
                                                                                    Model)
                                                                                    ★★★★★ 4.7 (9582)
                                                                                    Item 1170991      Model MV7N2AM/A


                                                                                    Your Price           $139.99
                                                                                    Free Shipping

                                                                                    Shipping & Handling: $0.00*


                                                                                    Features:
                                                                                    • 2nd Generation Airpods Charge Quickly in the Case
                                                                                    • Automatically on, Automatically Connected
                                                                                    • Double-tap to Play or Skip Forward
                                                                                    • Quick Access to Siri by Saying "Hey Siri"
                                                                                    • Easy Setup and Seamless Switching Between all

       [:] ~
                                                                                      your Devices


                                                                                    ! Estimated delivery Tuesday, May 19
                                                                                      Delivery ZIP Code: 92128 Change




                                                                                          □
                                                                                    Qty      1          Add to Cart




                                                                                    Add to Registry



  Product Details                                                                      "

  Limit 5 per member



  More magical than ever.

  Now with more talk time, voice-activated Siri access, AirPods deliver an unparalleled
  wireless headphone experience. Simply take them out and they’re ready to use with all
  your devices. Put them in your ears and they connect immediately, immersing you in rich,
  high-quality sound. Just like magic.

https://www.costco.com/.product.100487204.html                                                                                  Page 1 of 9
           Case 3:20-cv-00718-LAB-BLM Document 12-2 Filed 07/27/20 PageID.262 Page 13 of
Apple AirPods Wireless Headphones with Charging Case (Latest Model)                      59 6:39 PM
                                                                                      4/28/20,




  Wireless to the fullest.

  After a simple one-tap setup, AirPods are automatically on and always connected. Using
  them is just as easy. They sense when they’re in your ears and pause when you take them
  out. And the AirPods experience is just as amazing whether you’re using them with your
  iPhone, Apple Watch, iPad, or Mac.

  Performance you’ll want to hear.

  Powered by the all-new Apple H1 headphone chip, AirPods deliver a faster and more
  stable wireless connection to your devices — up to 2x faster when switching between
  active devices, and a 1.5x faster connection time for phone calls. The H1 chip also drives
  voice-enabled Siri access and delivers up to 30 percent lower gaming latency. So whether
  you’re playing games, listening to music, or enjoying podcasts, you’ll experience higher-
  quality sound.

  The power of 24-hour battery life.

  AirPods deliver an industry-leading 6.5 hours of listening time — and now up to 3 hours of
  talk time — all on one charge. And they’re made to keep up with you, thanks to a charging
  case that holds multiple charges for more than 24 hours of listening time. Need a quick
  charge? Just put AirPods back in the case for 15 minutes to get up to 3 hours of listening
  time and 2 hours of talk time. To check the battery, hold the AirPods next to your iPhone or
  ask Siri “How’s the battery on my AirPods?”



  Tech Specs
  • Weight: AirPods (each): 0.14 ounces, Charging Case: 1.34 ounces
  • Dimensions: AirPods (each): 0.65 by 0.71 by 1.59 inches, Charging Case: 1.74 by 0.84
    by 2.11 inches
  • AirPod Sensors: Dual beam-forming microphones, dual optical sensors, motion-
    detecting accelerometer, speech-detecting accelerometer


  Power and Battery
  • AirPods with Charging Case: More than 24 hours listening time,
  • AirPods (single charge): Up to 5 hours listening time, Up to 2 hours talk time 15 minutes
    in the case equals 3 hours listening time or over an hour of talk time
  • Standard charging case charges using standard Lightning connector

  System Requirements
  • iPhone, iPad and iPod touch models with iOS 12.2 or later
  • Apple Watch models with watchOS 5.2 or later
  • Mac models with macOS 10.14.4 or later

  Specifications                                                                         #

   Battery Life Up To               24 Hour

   Brand                            Apple

   Color                            White



https://www.costco.com/.product.100487204.html                                                   Page 2 of 9
           Case 3:20-cv-00718-LAB-BLM Document 12-2 Filed 07/27/20 PageID.263 Page 14 of
Apple AirPods Wireless Headphones with Charging Case (Latest Model)                      59 6:39 PM
                                                                                      4/28/20,



   Compatible with                      Apple iOS

   Connection Type                      Wireless

   Features                             Built-In Microphone

   Features                             Phone Control

   Features                             Rechargeable

   Model                                MV7N2AM/A

   Talk Time                            3 Hour

   Type of Headphones                   In-the-Ear

   Weight                               0.14 oz.




  Reviews (9582)                                                                                #


     ★★★★★ 4.7         9582 Reviews


     Search topics and reviews                   ϙ

   Reviews                                                                        Write a review



     Rating Snapshot
     Select a row below to filter reviews.

      5★                         8224
      4★                         804
      3★                         193
      2★                         83
      1★                         278


     Average Customer Ratings

     Overall   ★★★★★                        4.7


     Most Helpful Favorable Review

     ★★★★★                                                            ★   Top 250 Contributor
      Frank · a year ago



                                                                                                          [
                                                                                                           Feedback




      Love these Airpods ...but the description is WRONG




https://www.costco.com/.product.100487204.html                                                      Page 3 of 9
          Case 3:20-cv-00718-LAB-BLM Document 12-2 Filed 07/27/20 PageID.264 Page 15 of
Apple AirPods Wireless Headphones with Charging Case (Latest Model)                     59 6:39 PM
                                                                                     4/28/20,




                                                                                               J
     This is my first set of Airpods and they are great. Please note though that
     Costco's description i… Show Full Review


     707 of 872 people found this helpful


     See more 4 and 5 star reviews


     Most Helpful Critical Review

     ★★★★★
      The Maven · a year ago

      Right airpod not working


     Returned my perfectly working airpods to Apple to buy this at Costco at a
     discount. Got a dud right … Show Full Review


     88 of 262 people found this helpful


     See more 1, 2, and 3 star reviews



     1–8 of 9582 Reviews                                ?    Sort by: Most Relevant   ▼    ≡

                                                                          Verified Purchaser

    ♂        ★★★★★ mDOGG · 10 months ago
             Outstanding Product!
                                                                      *


              I absolutely *love* these AirPods. I purchased them to replace a
              diﬀerent type of Bluetooth headset that I purchased a couple of
              years ago which sat around my neck and featured retractable
              earbuds. These function MUCH better on my iPhone than my
              previous ones. They include the ability to access Siri simply by
              saying "Hey Siri" as long as at least one of them is in my ear.
              Additionally, they announce Caller-ID information for incoming calls
              unlike my previous headphones.

              The battery life is exceptional. The case design is outstanding. I only
              wish they were available in black rather than white, but either way,
              they're the best wireless headphones I have ever owned.


              ✔ Yes, I recommend this product.


              Helpful?    Yes · 49   No · 6   Report




https://www.costco.com/.product.100487204.html                                                 Page 4 of 9
Case 3:20-cv-00718-LAB-BLM Document 12-2 Filed 07/27/20 PageID.265 Page 16 of 59




                       EXHIBIT D
7/27/2020                                               Case 3:20-cv-00718-LAB-BLM Apple
                                                                                     Document         12-2
                                                                                         AirPods Wireless      Filed
                                                                                                          Headphones    07/27/20
                                                                                                                     with               PageID.266
                                                                                                                          Charging Case (Latest Model) Page 17 of 59


      Delivery ZIP Code: 92101 Change
      Lists | Reorder


      Home / Electronics / Audio/Video / Headphones & Earbuds



      Apple AirPods Wireless Headphones with Charging Case (Latest Model)
      Item 1170991                  Model MV7N2AM/A


                                                                                                                    Your Price                                              $139.99
                                             •                                                                      Free Shipping

                                                                                                                    Shipping & Handling: $0.00*


                                                                                                                                    AppleCare+ for Headphones Available 
                                                                                                                       AppleCare+




                                                                                                                    Features:
                                                                                                                    • 2nd Generation Airpods Charge Quickly in the Case
                                                                                                                    • Automatically on, Automatically Connected
                                                                                                                    • Double-tap to Play or Skip Forward
                                                                                                                    • Quick Access to Siri by Saying "Hey Siri"                        (




                                                                                                                                                                                           Feedback
                                                                                                                    • Easy Setup and Seamless Switching Between all your Devices
                                                                                                                          Estimated delivery Thursday, July 30
                                                                                                                           Delivery ZIP Code: 92101 Change




                                                                                                                          □
                                                                                                                    Qty    1                                Add to Cart




                                                                                                                    Add to Registry




       Product Details                                                                                                                                                             

      Limit 5 per member



      More magical than ever.

      Now with more talk time, voice-activated Siri access, AirPods deliver an unparalleled wireless headphone experience. Simply take them out and they’re
      ready to use with all your devices. Put them in your ears and they connect immediately, immersing you in rich, high-quality sound. Just like magic.

      Wireless to the fullest.

      After a simple one-tap setup, AirPods are automatically on and always connected. Using them is just as easy. They sense when they’re in your ears and
      pause when you take them out. And the AirPods experience is just as amazing whether you’re using them with your iPhone, Apple Watch, iPad, or Mac.

      Performance you’ll want to hear.

      Powered by the all-new Apple H1 headphone chip, AirPods deliver a faster and more stable wireless connection to your devices — up to 2x faster when
      switching between active devices, and a 1.5x faster connection time for phone calls. The H1 chip also drives voice-enabled Siri access and delivers up to
      30 percent lower gaming latency. So whether you’re playing games, listening to music, or enjoying podcasts, you’ll experience higher-quality sound.

      The power of 24-hour battery life.

      AirPods deliver 5 hours of listening time — and now up to 3 hours of talk time — all on one charge. And they’re made to keep up with you, thanks to a
      charging case that holds multiple charges for more than 24 hours of listening time. Need a quick charge? Just put AirPods back in the case for 15 minutes


https://www.costco.com/apple-airpods-wireless-headphones-with-charging-case-(latest-model).product.100487204.html                                                                                     1/10
7/27/2020                                               Case 3:20-cv-00718-LAB-BLM Apple
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                                                                                         AirPods Wireless      Filed
                                                                                                          Headphones    07/27/20
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      to get up to 3 hours of listening time and 2 hours of talk time. To check the battery, hold the AirPods next to your iPhone or ask Siri “How’s the battery on
      my AirPods?”



      Tech Specs
      • Weight: AirPods (each): 0.14 ounces, Charging Case: 1.34 ounces
      • Dimensions: AirPods (each): 0.65 by 0.71 by 1.59 inches, Charging Case: 1.74 by 0.84 by 2.11 inches
      • AirPod Sensors: Dual beam-forming microphones, dual optical sensors, motion-detecting accelerometer, speech-detecting accelerometer

      Power and Battery
      • AirPods with Charging Case: More than 24 hours listening time,
      • AirPods (single charge): Up to 5 hours listening time, Up to 2 hours talk time 15 minutes in the case equals 3 hours listening time or over an hour of talk
        time
      • Standard charging case charges using standard Lightning connector

      System Requirements
      • iPhone, iPad and iPod touch models with iOS 12.2 or later
      • Apple Watch models with watchOS 5.2 or later
      • Mac models with macOS 10.14.4 or later

       Speciﬁcations                                                                                                                                                               

                                                                                                                                                                                        (
         Battery Life Up To                                                                24 Hour




                                                                                                                                                                                            Feedback
         Brand                                                                             Apple

         Color                                                                             White

         Compatible with                                                                   Apple iOS

         Connection Type                                                                   Wireless

         Features                                                                          Built-In Microphone

         Features                                                                          Phone Control

         Features                                                                          Rechargeable

         Model                                                                             MV7N2AM/A

         Talk Time                                                                         3 Hour

         Type of Headphones                                                                In-the-Ear

         Weight                                                                            0.14 oz.




       Reviews (12369)                                                                                                                                                             


            ★★★★★ 4.7                 12369 Reviews


            Search topics and reviews                                                                               ϙ

         Reviews
                                                                                                                                                                       Write a review



            Rating Snapshot
            Select a row below to ﬁlter reviews.

            5★                                                            10599
            4★                                                             1038
            3★                                                              248

https://www.costco.com/apple-airpods-wireless-headphones-with-charging-case-(latest-model).product.100487204.html                                                                                      2/10
7/27/2020                                               Case 3:20-cv-00718-LAB-BLM Apple
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                                                                                         AirPods Wireless      Filed
                                                                                                          Headphones    07/27/20
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                                                                                                                          Charging Case (Latest Model) Page 19 of 59

            2★                                                              108
            1★                                                              376

            Average Customer Ratings

            Overall        ★★★★★                                4.7


            Most Helpful Favorable Review

            ★★★★★                                                                                                                                                      ★   Top 250 Contributor
            Frank · a year ago

             Love these Airpods ...but the description is WRONG


            This is my ﬁrst set of Airpods and they are great. Please note though that Costco's description i… Show Full Review


            875 of 1057 people found this helpful


            See more 4 and 5 star reviews


            Most Helpful Critical Review
                                                                                                                                                                                                   (
            ★
            ★★★★★




                                                                                                                                                                                                       Feedback
            The Maven · a year ago

             Right airpod not working


            Returned my perfectly working airpods to Apple to buy this at Costco at a discount. Got a dud right … Show Full Review


            106 of 319 people found this helpful


            See more 1, 2, and 3 star reviews



            129–158 of 12369 Reviews                                                                                                                    ?     Sort by: Most Relevant      ▼    ≡

                                                                                                                                                                               Veriﬁed Purchaser

            ♂          ★★★★ Alﬀrey C · 10 months ago
                       ★★★★★
                       No multi point connection.
                                                                                                                                                                           *


                        I like the portability, ﬁt and sound quality of these buds but the unavailability of multi point connection was a deal breaker for
                        me. Initially I thought it might be because I have a Macbook and an Android phone but then it didn't work between a Macbook
                        and an iPhone / iPad as well. Even the cheapest $20 bluetooth earphones have this feature so I am beyond disappointed in
                        Airpods. I am more astonished as to how come this point never comes across in any of the hundreds of tech reviews online.


                        ✘ No, I do not recommend this product.


                        Helpful?         Yes · 0        No · 0        Report




                                                                                                                                                                               Veriﬁed Purchaser

            ♂          ★
                       ★★★★★ DAvid L · a year ago
                       Apple Airpods
                                                                                                                                                                           *


                        IT’s NOT THE “LATEST MODEL”

                        False advertising!!


                        ✘ No, I do not recommend this product.


                        Helpful?         Yes · 6        No · 6        Report



https://www.costco.com/apple-airpods-wireless-headphones-with-charging-case-(latest-model).product.100487204.html                                                                                                 3/10
7/27/2020                                               Case 3:20-cv-00718-LAB-BLM Apple
                                                                                     Document         12-2
                                                                                         AirPods Wireless      Filed
                                                                                                          Headphones    07/27/20
                                                                                                                     with               PageID.269
                                                                                                                          Charging Case (Latest Model) Page 20 of 59


            See more 4 and 5 star reviews


            Most Helpful Critical Review

            ★
            ★★★★★
            The Maven · a year ago

             Right airpod not working


            Returned my perfectly working airpods to Apple to buy this at Costco at a discount. Got a dud right … Show Full Review


            106 of 319 people found this helpful


            See more 1, 2, and 3 star reviews



            309–338 of 12369 Reviews                                                                                                                           ?       Sort by: Most Relevant   ▼   ≡

                                                                                                                                                                                   Veriﬁed Purchaser
         ♂          ★
                    ★★★★★ Mr_Ro · 6 months ago
                    Failed left AirPod
                                                                                                                                                                               *


                     The left air pod failed in less than a week. It must me a know issue as I have seen many post online with ways trying to ﬁx it. After multiple failed
                     attempts, I decided to return the product. I do plan to give it one more try by purchasing directly from the store. The online shipping took way too
                     long.




                                                                                                                                                                                                        Feedback
                     Helpful?       Yes · 0      No · 1      Report




                                                                                                                                                                                   Veriﬁed Purchaser

         ♂          ★★★★★ Megan · 3 months ago
                    Keeping in touch with Momma!
                                                                                                                                                                               *


                     Got these as an anniversary gift for my mom, since I knew she would never treat herself to them. They're life changing, and she ﬁnds them so easy
                     to use! It gives us the opportunity to stay in touch better with our busy lives since she can easily talk while she's making dinner or taking the dog for
                     a walk.


                     ✔ Yes, I recommend this product.


                     Helpful?       Yes · 0      No · 0      Report




                                                                                                                                                                                   Veriﬁed Purchaser

         ♂          ★★★★★ Elia · a year ago
                    Authentic AirPods w/ regular charging case
                                                                                                                                                                               *


                     These work great and are exactly like you would purchase in the Apple Store or online. They are the newest model of AirPods One thing to keep in
                     mind however, they do not include the wireless charging case. Keep that in mind, as the description is a bit confusing and I accidentally ordered the
                     wrong pair.




                     Helpful?       Yes · 0      No · 0      Report




                                                                                                                                                                                   Veriﬁed Purchaser
         ♂          ★★★★★ Rachel · 21 days ago
                    Apple AirPods
                                                                                                                                                                               *


                     These are excellent earbuds in every way except. I use them to lessen to audiobooks and podcasts. I love that my text messages are read aloud to
                     me and the ease at which I can pause play My only concern is that I don’t believe that I am getting ﬁve hours of listening time as noted in the
                     speciﬁcations.


                     ✔ Yes, I recommend this product.


                     Helpful?       Yes · 0      No · 0      Report




                                                                                                                                                                                   Veriﬁed Purchaser
         ♂          ★
                    ★★★★★ Sean · a year ago
                    Apple airpods
                                                                                                                                                                               *



https://www.costco.com/apple-airpods-wireless-headphones-with-charging-case-(latest-model).product.100487204.html                                                                                                  3/9
7/27/2020                                               Case 3:20-cv-00718-LAB-BLM Apple
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                                                                                         AirPods Wireless      Filed
                                                                                                          Headphones    07/27/20
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                                                                                                                          Charging Case (Latest Model) Page 21 of 59



                        Helpful?         Yes · 25         No · 2       Report




                                                                                                                                                                        * Veriﬁed Purchaser
            ♂          ★★★★★ Anees · a year ago
                       Get them! You will not regret it!!

                        One of the best purchases I have ever made! These come in here and when I am hiking, running and dancing like a crazy
                        person in room. Not once have they fallen out or even felt like they were going to fall out. They don’t hurt or irritate my ears like
                        other headphones do. Honestly, you barely even noticed they’re there. My music sounds amazing and i like that i can leave one
                        airpod out of my ear while hiking alone so I can hear if someone is coming up behind me. Totally recommend them!!!!




                        Helpful?         Yes · 6        No · 0        Report




                                                                                                                                                                       ★ Top 250 Contributor
            ♂          ★★★★★ Frank · a year ago
                       Love these Airpods ...but the description is WRONG


                        This is my ﬁrst set of Airpods and they are great. Please note though that Costco's description is wrong. These do NOT come
                        with the wireless charge case. It only charges via lightening cable. Apple part number is MV7N2AM/A




                                                                                                                                                                                               Feedback
                        ✔ Yes, I recommend this product.


                        Helpful?         Yes · 875         No · 182         Report




            ♂          ★★★★★ JackJack · a year ago
                       Great addition to Apple product line

                        Nice sound, easy to use, and they recharge in the case. Very easy to use with my iPad, my iPhone XS, and my MacBook Air
                        and switch between devices. Now these are my go-to headphones at home or at work.


                        ✔ Yes, I recommend this product.


                        Helpful?         Yes · 47         No · 5       Report




                                                                                                                                                                        * Veriﬁed Purchaser
            ♂          ★★★★★ hcross · a month ago
                       Usual Apple excellence

                        I had never used cordless earbuds before, so this was a new experience for me. These AirPods are easy to use and set up.
                        They have the quality I have grown to expect from an Apple product. They are intuitive, and as soon as you take them out, your
                        iPhone cues you to set them up. So easy! The small case holds the AirPods, and you can charge with the included cable or
                        with a wireless charger. They charge quickly.
                        I have an iPhone, iPad and MacAir, and it is easy to use these AirPods on all of them. It is also super easy to switch between
                        the diﬀerent Apple products, which I have found to be a problem with other bluetooth devices.


                        ✔ Yes, I recommend this product.


                        Helpful?         Yes · 0        No · 0        Report




                                                                                                                                                                        * Veriﬁed Purchaser
            ♂          ★
                       ★★★★★ Aaron · a year ago
                       Received Faulty Pods multiple times.




https://www.costco.com/apple-airpods-wireless-headphones-with-charging-case-(latest-model).product.100487204.html                                                                                         5/11
7/27/2020                                               Case 3:20-cv-00718-LAB-BLM Apple
                                                                                     Document         12-2
                                                                                         AirPods Wireless      Filed
                                                                                                          Headphones    07/27/20
                                                                                                                     with               PageID.271
                                                                                                                          Charging Case (Latest Model) Page 22 of 59

                        ✔ Yes, I recommend this product.


                        Helpful?         Yes · 0        No · 0        Report




                                                                                                                                                                       * Veriﬁed Purchaser
            ♂          ★★★★ Lucky · a year ago
                       ★★★★★
                       Good Quality product


                        Had this item for a week, audio clarity is good. Easy to connect with my I phone 6+.
                        Only confusion is, I was hoping to get wireless charging case as it says Latest Model.


                        ✔ Yes, I recommend this product.


                        Helpful?         Yes · 2        No · 7        Report




                                                                                                                                                                       * Veriﬁed Purchaser
            ♂          ★★★★★ Anonymous · 2 months ago
                       Consumer

                        Sounds great.. nice ﬁt without putting in my ear. Also works great with Android. To make all the features work like IOS, you
                        must down load a 3rd party App. Works like a champ on IOS. I purchased this because I don't like sticking things in my ear. I
                        don't need noise cancelling. These are great without. Worth the purchase.




                                                                                                                                                                                             Feedback
                        ✔ Yes, I recommend this product.


                        Helpful?         Yes · 0        No · 0        Report




                                                                                                                                                                       * Veriﬁed Purchaser
            ♂          ★★★★ 59911 · 4 months ago
                       ★★★★★
                       Too large to ﬁt


                        These work very well. The issue is the ear bud portion is just enough larger than the buds that come with in an iPhone that they
                        don't seat securely. I have small ear canals and they basically just hung on the bottom of my ears. Slightest touch or motion
                        with my head and they fall out. The pros allow for diﬀerent ﬁts.


                        ✔ Yes, I recommend this product.


                        Helpful?         Yes · 0        No · 1        Report




                                                                                                                                                                       * Veriﬁed Purchaser
            ♂          ★★★★ JulieTshops · 7 months ago
                       ★★★★★
                       Good quality made wireless headphones but...


                        Gave each of my kids these AirPods for Christmas. They loved them! Easy to connect to their iPhones via Bluetooth. Two of my
                        three kids did complain that the hinge of the charging case lid is loose such that the lid ﬂops/swings open and close which they
                        found to be annoying but otherwise they were content with the AirPods.


                        ✔ Yes, I recommend this product.


                        Helpful?         Yes · 0        No · 0        Report




                                                                                                                                                                       * Veriﬁed Purchaser
            ♂          ★★★
                       ★★★★★ Regular guy · a year ago
                       Great product when it's working


                        After casually use for several weeks it stopped working.
                        First, left pod stopped with right pod intermittently receiving sound. Then all pods stopped. Have tried connected to iphone,
                        ipad, macbook. Connection is ﬁne but just not receiving streaming. Sound ﬁrst come from the devices then went silent.

https://www.costco.com/apple-airpods-wireless-headphones-with-charging-case-(latest-model).product.100487204.html                                                                                       7/10
7/27/2020                                               Case 3:20-cv-00718-LAB-BLM Apple
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                                                                                                          Headphones    07/27/20
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                     Bottom line is I spend literally hours getting these headphones to connect, that's absolutely not ok and I have no conception of how apple thinks it
                     is, or other customers.
                     Right at the moment not for any amount of money or time can I get my AirPods to connect to my Mac. Not at all. Earlier today I had them connected
                     just ﬁne. Not a problem at all!
                     Tomorrow morning I bet I'll be able to connect them again, and there won't be any reason why any of this inconvenience happened. It's just apple
                     gremlins.

                     Not. Worth. Your. Time. I'm sure it's a software issue, this problem comes and goes with the updates to the Mac. The quality is ultra sloppy and it
                     shows when I now literally have to dig out my old headphones to plug in because these simply won't work.

                     I've followed every single piece of advice from Apple, forgetting the device on multiple devices, resetting them, you name it. Not for anything will it
                     connect, the botton is unclickable. Really, for this kind of money you can do better.


                     ✘ No, I do not recommend this product.


                     Helpful?       Yes · 0      No · 0      Report




                                                                                                                                                                           Veriﬁed Purchaser
         ♂          ★★★★★ Don D · 7 months ago
                    Great product, but...
                                                                                                                                                                       *


                     These airpods are great, but be aware that this product comes with the 1st gen case and 2nd gen Airpods. The case itself can NOT be wirelessly
                     charged. The description on Costco’s website does not mention what comes in this bundle and needs to be updated to prevent future
                     misunderstandings.




                                                                                                                                                                                                   Feedback
                     ✔ Yes, I recommend this product.


                     Helpful?       Yes · 0      No · 0      Report




                                                                                                                                                                           Veriﬁed Purchaser
         ♂          ★★★★★ Rakpat · 9 months ago
                    Just what I wanted
                                                                                                                                                                       *


                     If you have iPhone then Airpod is must. The seamless integration between Apple devices is just out of this world. Yes it may not ﬁt all ears but if it
                     does then its a no brainer. Convenience, battery life and foot print of AirPod is unparalleled. So if you have iPhone then get one enjoy.


                     ✔ Yes, I recommend this product.


                     Helpful?       Yes · 0      No · 0      Report




            309–338 of 12369 Reviews                                                                                                                                                 ◄     ►




      Shipping & Returns                                                                                                                                                                       

      Standard shipping is via UPS Ground.

      Standard shipping via UPS Mail Innovations is included in the quoted price. The estimated delivery time will be approximately 5 - 7 business days from the time of order.

      This service is a combination of UPS and USPS shipping. Packages are delivered by USPS. Packages can be tracked at upsmi.com. Additional transit time may be required for
      Alaska, Hawaii and Puerto Rico.

      Express shipping is via UPS.

      Please choose your shipping method at checkout.

      An additional Shipping and Handling fee will apply to express shipments. This fee will be quoted at checkout.

      *Delivery is available to Alaska, Hawaii and Puerto Rico. An additional Shipping and Handling fee will apply to shipments going to Alaska, Hawaii or Puerto Rico. This fee will be
      quoted at checkout. Additional transit time may be required.

      Costco.com products can be returned to any of our more than 700 Costco warehouses worldwide.

      SHOP CONFIDENTLY
      We are committed to oﬀering the best value to our members, with a risk-free 100% satisfaction guarantee on both your membership and merchandise. If you have questions about
      your membership or products you've purchased at Costco, please visit the membership counter at your local Costco or Contact Customer Service.

      View Costco's Return Policy

      For manufacturer warranty information simply go to Live Chat on the Costco.com Customer Service page, select Costco Online and then Warranty Information.




https://www.costco.com/apple-airpods-wireless-headphones-with-charging-case-(latest-model).product.100487204.html                                                                                             8/9
7/27/2020                                               Case 3:20-cv-00718-LAB-BLM Apple
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                                                                                                                          Charging Case (Latest Model) Page 24 of 59

                        Hi Team,

                        The product which sent to me has some marks on it and it was dirty.
                        The package was good not sure why the device has some scars on it.
                        I have ordered lot many items from Costco and I never had this experience.
                        Hope the future deliverable are taken care appropriately


                        ✔ Yes, I recommend this product.


                        Helpful?         Yes · 0        No · 2        Report




                                                                                                                                                                       * Veriﬁed Purchaser
            ♂          ★★★
                       ★★★★★ Allen S · 4 months ago
                       Misleading and NOT true.


                        I got the Pods only to ﬁnd out that they did not come with the wireless case as the ad says. The ad is misleading and makes
                        you think that you are getting the wireless case with the pods. You don't. You get the standard case that has to be plugged in
                        to charge. Very disappointed!


                        ✘ No, I do not recommend this product.


                        Helpful?         Yes · 0        No · 0        Report




                                                                                                                                                                                             Feedback
                                                                                                                                                                       * Veriﬁed Purchaser
            ♂          ★★★★ First hp no mo brother · 11 months ago
                       ★★★★★
                       Almost perfect for me.

                        Cons: Crackling sound. People on other end say they hear some distortion. Left side stays in ear. Right side doesn’t stay in ear.
                        Pros: Lightweight, comfortable ﬁt. Fast charging case & small enough to ﬁt in my pocket. Returning these, going to Apple to
                        buy Powerbeats Pro


                        ✘ No, I do not recommend this product.


                        Helpful?         Yes · 0        No · 0        Report




                                                                                                                                                                       * Veriﬁed Purchaser
            ♂          ★★★★★ Matthew R · a year ago
                       A nice upgrade from gen 1.


                        Not many new features but a nice upgrade from gen 1. I had many connectivity issues with gen 1 and with gen 2 none
                        whatsoever. Also it’s deﬁnitely faster to connect and faster to switch between devices. Also being able to summon Siri without
                        double tapping is a welcome addition.


                        ✔ Yes, I recommend this product.


                        Helpful?         Yes · 0        No · 0        Report




                                                                                                                                                                       * Veriﬁed Purchaser
            ♂          ★★★★★ Satisfy · 2 months ago
                       Apple AirPods

                        The AirPods are wonderful, no complaints. Too bad that Apple doesn’t oﬀer the accessories to secure the pods don’t fall out of
                        the ears (I almost lost one when wearing my husband’s). I found the perfect accessories for my AirPods, check it out: Posh
                        Tech 5-piece Accessories kit.


                        ✔ Yes, I recommend this product.


                        Helpful?         Yes · 0        No · 0        Report


https://www.costco.com/apple-airpods-wireless-headphones-with-charging-case-(latest-model).product.100487204.html                                                                                       7/10
7/27/2020                                               Case 3:20-cv-00718-LAB-BLM Apple
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                                                                                                          Headphones    07/27/20
                                                                                                                     with               PageID.274
                                                                                                                          Charging Case (Latest Model) Page 25 of 59

                        ✘ No, I do not recommend this product.


                        Helpful?         Yes · 0        No · 0        Report




                                                                                                                                                                       * Veriﬁed Purchaser
            ♂          ★★★★ Shirley · 9 months ago
                       ★★★★★
                       Air pods

                        Love them !!! Now I don’t have to be so close to my phone when on the treadmill and machines At the gym, I also can keep my
                        phone in my tote when walking !! Great purchase , I just have to remove one when I talk to friends at gym


                        ✔ Yes, I recommend this product.


                        Helpful?         Yes · 0        No · 0        Report




                                                                                                                                                                       * Veriﬁed Purchaser
            ♂          ★★★★★ babjo · a year ago
                       Get a case to protect from scratches.


                        My son loves it, and uses it all the time! Costco oﬀered it for a great price. If you are a perfectionist like my son, make sure you
                        order a silicone case for this because the plastic case gets microscratches extremely easily.




                                                                                                                                                                                             Feedback
                        ✔ Yes, I recommend this product.


                        Helpful?         Yes · 0        No · 0        Report




                                                                                                                                                                       * Veriﬁed Purchaser
            ♂          ★★★★★ Christine B · a year ago
                       Apple airpods


                        Best earphones! Can only be paired to one device at a time. Long battery life. Excellent sound quality. This is the newer
                        version. Looks the same as my old version and yet to see the diﬀerences as today is the ﬁrst day of use.


                        ✔ Yes, I recommend this product.


                        Helpful?         Yes · 0        No · 0        Report




                                                                                                                                                                       * Veriﬁed Purchaser
            ♂          ★★★★★ tshort63 · 6 months ago
                       Should have bought them years earlier.


                        Should have bought them years earlier. Only issue is that the ipods solo seem to only carry a charge for about 4 hours. Would
                        be a drag on a cross-country ﬂight to have to recharge them part way through. Very small nit though.


                        ✔ Yes, I recommend this product.


                        Helpful?         Yes · 0        No · 0        Report




                                                                                                                                                                       * Veriﬁed Purchaser
            ♂          ★★★★ BernBoots · a year ago
                       ★★★★★
                       AirPods


                        I purchased these because they were advertised as a having the wireless charging case.... they did NOT have the wireless
                        charging case. Costco would not honor that advertisement and I had to purchase the other case separately.




                        Helpful?         Yes · 0        No · 5        Report



https://www.costco.com/apple-airpods-wireless-headphones-with-charging-case-(latest-model).product.100487204.html                                                                                       8/10
7/27/2020                                               Case 3:20-cv-00718-LAB-BLM Apple
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                                                                                                                          Charging Case (Latest Model) Page 26 of 59




                                                                                                                                                                           Veriﬁed Purchaser

            ♂          ★
                       ★★★★★ TangX · a year ago
                       Disappointed
                                                                                                                                                                       *


                        It arrived yesterday evening. I tested out and it was working. After charging it at night, when I was to use it this morning, left
                        earbud was not connecting. It shows it is charged, but no connection when I put it on..... very disappointed!




                        Helpful?         Yes · 0        No · 4        Report




                                                                                                                                                                           Veriﬁed Purchaser

            ♂          ★
                       ★★★★★ Sang5ang · 7 months ago
                       FRAUD! Costco is selling 1gen not 2nd gen
                                                                                                                                                                       *


                        I bought the Air Pod thinking it was 2nd gen. at the store but week later found out it was 1st gen. I will be returning for a refund.
                        Dear Costco, this is probably an error so you need to change the store sign as it is stated as 2nd gen.


                        ✘ No, I do not recommend this product.

                                                                                                                                                                                               (
                        Helpful?         Yes · 0        No · 2        Report




                                                                                                                                                                                                   Feedback
            ♂          ★
                       ★★★★★ Matea · 4 months ago
                       Glitchy


                        Bought these in March and had no issues with them until a few weeks ago. They keep glitching and people can’t hear me. I will
                        be returning them and hoping I can purchase a new pair and they won’t have the same issue. Fingers crossed


                        ✔ Yes, I recommend this product.

                          Cosff'O
                          ~,ci,a.uw     Originally posted on costco.ca




                                                                                                                                                                           Veriﬁed Purchaser

            ♂          ★
                       ★★★★★ Kenn · a year ago
                       Product arrive dead
                                                                                                                                                                       *


                        Dead on arrival




                        Helpful?         Yes · 2        No · 8        Report




                                                                                                                                                                           Veriﬁed Purchaser

            ♂          ★
                       ★★★★★ Jpilot · a year ago
                       Not the latest model.
                                                                                                                                                                       *


                        No wireless charger. The latest model has wireless.


                        ✘ No, I do not recommend this product.


                        Helpful?         Yes · 1        No · 4        Report




                                                                                                                                                                           Veriﬁed Purchaser

            ♂          ★
                       ★★★★★ tuguy80 · 2 months ago
                       NOT WIRELESS!!!
                                                                                                                                                                       *



https://www.costco.com/apple-airpods-wireless-headphones-with-charging-case-(latest-model).product.100487204.html                                                                                             6/10
7/27/2020                                               Case 3:20-cv-00718-LAB-BLM Apple
                                                                                     Document         12-2
                                                                                         AirPods Wireless      Filed
                                                                                                          Headphones    07/27/20
                                                                                                                     with               PageID.276
                                                                                                                          Charging Case (Latest Model) Page 27 of 59

                        Oh it’s AirPods alright... but NOT wireless!!! If you want wireless, this is NOT it. Apparently the 2 ladies that helped me at
                        Costco don’t know anything about Apple products... tsk tsk!




                        Helpful?         Yes · 0        No · 0        Report




            ♂          ★
                       ★★★★★ viv27 · a month ago
                       Airpods battery life is very poor it. 1 hr max


                        I have been using this for work and after 1 hr of call the battery dies for the air pods. Are they genuine apple airpods bcoz it
                        claims 5 hrs of battery life. I have returned it.


                        ✘ No, I do not recommend this product.

                          CosJ'C'O
                            en nee•     Originally posted on costco.ca




            ♂          ★
                       ★★★★★ Sun Lovin · 17 days ago
                       second set DEAD after 6 months
                                                                                                                                                                                               (




                                                                                                                                                                                                   Feedback
                        It's not as if we are hard on these at all, or use them frequently. They haven't been dropped, gotten wet or misused in any way.
                        For the money these are NOT worth it.


                        ✘ No, I do not recommend this product.


                        Helpful?         Yes · 0        No · 1        Report




                                                                                                                                                                           Veriﬁed Purchaser

            ♂          ★
                       ★★★★★ Sant · a year ago
                       This not latest model
                                                                                                                                                                       *


                        This is not latest model, this is old model with regular charging case


                        ✘ No, I do not recommend this product.


                        Helpful?         Yes · 1        No · 7        Report




                                                                                                                                                                           Veriﬁed Purchaser

            ♂          ★
                       ★★★★★ Maxi · 7 months ago
                       Very Important Review. Please READ
                                                                                                                                                                       *


                        I ordered my apple AirPods wireless headphones with Charging Case 2nd generation through Costco online. I received it today
                        and as soon as I got home I paired it seamlessly. I tried it for 30 mins. It has a nice sound, easy to use but it keeps falling oﬀ my
                        ears, both sides. It does not quite ﬁt on my ears so I decided to take it back to Costco which is so close to my house. I
                        probably have the item for only an hour. When I took it to Costco warehouse, I was told that the serial number of the AirPods
                        and the charging case do not match, hence they will not take it back. I told him how could that happen? I just got the AirPod
                        delivered to my home. They asked me if I have another AirPods and I said no this is my very ﬁrst one. They thought that it
                        could have been swapped with another AirPods. Wow, what an insulting question me like that wherein I had the item for less
                        an hour. So the lesson here is it seems that Costco Apple suppliers are deceptive and sell Apple items with unmatching or two
                        diﬀerent serial numberS. So beware of unmatching serial numbers because Costco warehouse will not let you return the item.


                        ✔ Yes, I recommend this product.


                        Helpful?         Yes · 0        No · 1        Report




https://www.costco.com/apple-airpods-wireless-headphones-with-charging-case-(latest-model).product.100487204.html                                                                                             7/10
7/27/2020                                               Case 3:20-cv-00718-LAB-BLM Apple
                                                                                     Document         12-2
                                                                                         AirPods Wireless      Filed
                                                                                                          Headphones    07/27/20
                                                                                                                     with               PageID.277
                                                                                                                          Charging Case (Latest Model) Page 28 of 59

                        Awesome as expected out of any apple product. Cheaper than any other place as well!




                        Helpful?         Yes · 0        No · 0        Report




            ♂          ★★★★★ jckim2 · a year ago
                       Love my AirPods!


                        These are my second set of AirPods. Great sound and connectivity on all my Apple devices.


                        ✔ Yes, I recommend this product.


                        Helpful?         Yes · 0        No · 0        Report




            ♂          ★★★★★ Pamela · a year ago
                       I caved. They're awesome.


                        These are awesome. I didn't think I would care much for them but the more I use them, the more I realize that they are
                        convenient and well-built for everyday use. I did worry about the ergonomics of the pods falling out of my ears but you really




                                                                                                                                                                                             Feedback
                        need to be doing major gymnastics for that to happen!

                        I am known for losing things all the time but I've become in tune with always putting them back in their case right away! Make
                        sure you get a case with a solid caribiner for hooking into your purse/bag/key chain.

                        To address the title on Costco's website: yes, it is a bit misleading. It should at least say that the charging case is not wireless. I
                        debated on the generations and price-point because of this option before pulling the trigger. I am happy to say that I'm glad
                        that I went with the 1st generation charging case. I'm horrible at throwing devices on pads to be charged! When it's fully
                        charged, I can go days not charging it and the air pods still get hours/days of listening time.

                        Costco gave the best deal and hopefully they continue to keep these in stock. They make a great gift for anyone!


                        ✔ Yes, I recommend this product.


                        Helpful?         Yes · 0        No · 0        Report




                                                                                                                                                                       * Veriﬁed Purchaser
            ♂          ★★★★★ Bekah C · a year ago
                       Amazing Deal


                        I was so excited when I saw that Costco was carrying these. It is a great deal for the latest model. I previously purchased an oﬀ
                        brand pair from a random site and they worked less than a week. Cant go wrong with Apple products and Costco's excellent
                        return/exchange policy.




                        Helpful?         Yes · 0        No · 0        Report




                                                                                                                                                                       * Veriﬁed Purchaser
            ♂          ★★★★★ Bill · a year ago
                       Apple Airpods


                        fast and exactly what it displayed




                        Helpful?         Yes · 0        No · 0        Report




                       ★★★★★ Happy Costco Customer · a year ago                                                                                                        * Veriﬁed Purchaser
https://www.costco.com/apple-airpods-wireless-headphones-with-charging-case-(latest-model).product.100487204.html                                                                                       7/9
Case 3:20-cv-00718-LAB-BLM Document 12-2 Filed 07/27/20 PageID.278 Page 29 of 59




                        EXHIBIT E
          Case 3:20-cv-00718-LAB-BLM Document 12-2 Filed 07/27/20 PageID.279 Page 30 of
Apple AirPods with Charging Case (Latest Model) - Walmart.com - Walmart.com             59 11:18 AM
                                                                                     7/24/20,



    Pickup & delivery               Walmart.com

                                                                                                                                                      0
                                               Search Walmart.com                                                   Account          Reorder


  ~        -=©
             NextDay delivery          0   Delivering to 92128

                              For your safety, everyone must wear a face covering in stores starting 7/20.
                                                                      Learn more

   Electronics / Audio / Headphones / Headphones                                                                                         
                                                                              Apple

                                                                              Apple AirPods with Charging Case
                        •                     •                               (Latest Model)
                                                                              Model: MV7N2AM/A            Walmart # 574838724

                                                                               (4.7) 2711 ratings              Write a review



                                                                              $139.00
                                                                              Add protection for your device: None selected                Show less



                                                                                          I don't need protection at this time



                                                                                           Walmart protection plan
                                                                                           Peace of mind with the best value for device
                                                                                           replacment
                                                                                               3-Year for $19.96
                                                                                               2-Year for $16.00



                                                                                          Applecare+
                                                                                           Service & support from the people who know your
                                                                                           product best
                                                                                               AppleCare+ for Headphones for $29.00
                                                                                                                                                       Feedback
    Report incorrect product information


                                                                              Qty:

                                                                                     1                 Add to cart



                                                                                 It's past time for NextDay delivery tomorrow. Order by
                                                                                         9pm on Sun, Jul 26 for delivery by Mon, Jul 27.

https://www.walmart.com/ip/Apple-AirPods-with-Charging-Case-La…3336297&wl5=9052127&wl6=105331780008&wl7=9052127&wl8=&veh=sem                   Page 1 of 14
          Case 3:20-cv-00718-LAB-BLM Document 12-2 Filed 07/27/20 PageID.280 Page 31 of
Apple AirPods with Charging Case (Latest Model) - Walmart.com - Walmart.com             59 11:18 AM
                                                                                     7/24/20,




                                                                                   Free 2-day delivery
                                                                                    Arrives by Mon, Jul 27

                                                                                   Free pickup today
                                                                                    In stock at Poway, 13425 Community Road


                                                                              More delivery & pickup options


                                                                                 Sold & shipped by Walmart         Return policy



                                                                                 Add to list               Add to registry




                                                                              6 other sellers from $134.90

                                                                              $134.90+ Free delivery
                                                                              Sold & shipped by Vovoya Inc.


                                                                              $138.99+ Free delivery
                                                                              Sold & shipped by ITPARTS.COM


                                                                               ____
                                                                              ( Compare all ~)
                                                                                            7 sellers




                                                                              Highlights

                                                                                Brand Apple

                                                                                Headphone Type Wireless Headphones, In-Ear Headphones

                                                                                Wireless Technology Bluetooth

                                                                                Headphone Feature True Wireless, True Wireless|Microphone

                                                                                Condition New


                                                                                See full item details




                                                                                  Protect your AirPods
                                                                                  Keep your tech safe
                                                                                  with stvlish case covers.
https://www.walmart.com/ip/Apple-AirPods-with-Charging-Case-L…3336297&wl5=9052127&wl6=105331780008&wl7=9052127&wl8=&veh=sem          Page 2 of 14
          Case 3:20-cv-00718-LAB-BLM Document 12-2 Filed 07/27/20 PageID.281 Page 32 of
Apple AirPods with Charging Case (Latest Model) - Walmart.com - Walmart.com             59 11:18 AM
                                                                                     7/24/20,




                                                                                    ·J
       Better Together
                                                                              Total = $165.34
                                                                              NextDay eligible
                                       
                                                                                    Add all to cart

       Apple AirPods with                     Apple Lightning to USB
       Charging Case (Latest                  Cable (2 m)
       Model)
                                              $26.34
       $139.00




       Customers also considered




                                                                                                                •
                                                                                                                          




       Apple AirPods with Wireless Charging Case               Refurbished Apple MMEF2AM/A AirPods          Refurbished Apple AirPods Generat
       (Latest Model)                                          Wireless Bluetooth Earphones                 Charging Case MV7N2AM/A
                777                                                  41                                    67


https://www.walmart.com/ip/Apple-AirPods-with-Charging-Case-L…3336297&wl5=9052127&wl6=105331780008&wl7=9052127&wl8=&veh=sem    Page 3 of 14
          Case 3:20-cv-00718-LAB-BLM Document 12-2 Filed 07/27/20 PageID.282 Page 33 of
Apple AirPods with Charging Case (Latest Model) - Walmart.com - Walmart.com             59 11:18 AM
                                                                                     7/24/20,



       $169.00                                                 $114.99                                      $117.79
       NextDay eligible                                        2-day delivery                               2-day delivery


                                                                  • • • • • •


   About This Item

   We aim to show you accurate product information. Manufacturers, suppliers and others provide
   what you see here, and we have not verified it. See our disclaimer


   NOTE: This model contains the standard lightning charging case, NOT the wireless charging case.
   The new AirPods combine intelligent design with breakthrough technology and crystal clear sound.
   Powered by the new Apple H1 headphone chip, AirPods now feature hands-free access to Siri using
   just your voice. And up to 3 hours of talk time on a single charge.

   Key Features

   •   Automatically on, automatically connected

   •   Easy setup for all your apple devices(2)

   •   Quick access to Siri by saying "Hey Siri"

   •   Double-tap to play or skip forward

   •   New Apple H1 headphone clip delivers faster wireless connection to your devices

   •   Charges quickly in the case

   •   Case can be charged using the lightning connector

   •   Rich, high-quality audio and voice

   •   Seamless switching between devices

   •   Listen and talk all day with multiple charges from the Charging Case(3).

   •   Condition : New
   Legal
   (1)Battery life depends on device settings, environment, usage, and many other factors.
   (2)Requires an iCloud account and macOS 10.14.4, iOS 12.2, or watchOS 5.2
   (3)Battery life varies by use and configuration.
   (4)Requires latest version of iOS.
   (5) Battery life depends on device settings, environment, usage, and many other factors.
   (6)Testing conducted by Apple in February 2019 using preproduction AirPods (2nd generation),
   Charging Case, and Wireless Charging Case units and software paired with iPhone XS Max units and
   prerelease software. Volume was set to 50%. Testing consisted of full AirPods battery discharge
   with a cellular phone call until the first AirPod stopped playing call audio. The drained AirPods were
   charged to 100 percent, then the cellular phone call was restarted until the first AirPod stopped
   playing call audio. This cycle was repeated until both the AirPods and charging case were fully
   discharged. Battery life depends on device settings, environment, usage, and many other factors.
   (7)Testing conducted by Apple in February 2019 using preproduction AirPods (2nd generation),
   Charging Case, and Wireless Charging Case units and software paired with iPhone XS Max units and
https://www.walmart.com/ip/Apple-AirPods-with-Charging-Case-L…3336297&wl5=9052127&wl6=105331780008&wl7=9052127&wl8=&veh=sem   Page 4 of 14
          Case 3:20-cv-00718-LAB-BLM Document 12-2 Filed 07/27/20 PageID.283 Page 34 of
Apple AirPods with Charging Case (Latest Model) - Walmart.com - Walmart.com             59 11:18 AM
                                                                                     7/24/20,


   Charging Case, and Wireless Charging Case units and software paired with iPhone XS Max units and
   prerelease software. The playlist consisted of 358 unique audio tracks purchased from the iTunes
   Store (256-Kbps AAC encoding). Volume was set to 50%. Testing consisted of full AirPods battery
   discharge while playing audio until the first AirPod stopped playback. Battery life depends on
   device settings, environment, usage, and many other factors.
   (8)Testing conducted by Apple in February 2019 using preproduction AirPods (2nd generation),
   Charging Case, and Wireless Charging Case units and software paired with iPhone XS Max units and
   prerelease software. The playlist consisted of 358 unique audio tracks purchased from the iTunes
   Store (256-Kbps AAC encoding). Volume was set to 50%. 15-Minute charge testing conducted with
   drained AirPods that were charged for 15 minutes, then audio playback was started until the first
   AirPod stopped playback. Battery life depends on device settings, environment, usage, and many
   other factors.
   (9)Testing conducted by Apple in February 2019 using preproduction AirPods (2nd generation),
   Charging Case, and Wireless Charging Case units and software paired with iPhone XS Max units and
   prerelease software. Volume was set to 50%. 15-Minute charge testing conducted with drained
   AirPods that were charged for 15 minutes, then a cellular phone call was started until the first
   AirPod stopped playing call audio. Battery life depends on device settings, environment, usage, and
   many other factors.

   Specifications

      Features                                                Wireless|Microphone Included|Bluetooth


      Brand                                                   Apple


      Color                                                   White


      Manufacturer                                            Apple


      Manufacturer Part Number                                MV7N2AM/A


      Assembled Product Dimensions (L x W x H)                0.70 x 0.60 x 1.34 Inches



   Take an interactive tour
   Don't just read about this product's features--see for yourself!

                                                         •   360° rotation




https://www.walmart.com/ip/Apple-AirPods-with-Charging-Case-L…3336297&wl5=9052127&wl6=105331780008&wl7=9052127&wl8=&veh=sem   Page 5 of 14
          Case 3:20-cv-00718-LAB-BLM Document 12-2 Filed 07/27/20 PageID.284 Page 35 of
Apple AirPods with Charging Case (Latest Model) - Walmart.com - Walmart.com             59 11:18 AM
                                                                                     7/24/20,




       Customers also bought these products

        ROLLBACK




                                                                                                                           • 




       Apple Watch Series 3 GPS - 38mm - Sport Band -          Madden NFL 20, Electronic Arts, PlayStation 4,   Straight Talk Apple iPhone 6s Prepa
       Aluminum Case                                           014633738377                                     Smartphone with 32GB
                1496                                                186                                       959


       $169.00 - $229.00                                       $29.99 $59.99                                    $99.00
       NextDay eligible                                        2-day delivery


                                                                  • • • • • •


   Customer Reviews




https://www.walmart.com/ip/Apple-AirPods-with-Charging-Case-L…3336297&wl5=9052127&wl6=105331780008&wl7=9052127&wl8=&veh=sem        Page 6 of 14
          Case 3:20-cv-00718-LAB-BLM Document 12-2 Filed 07/27/20 PageID.285 Page 36 of
Apple AirPods with Charging Case (Latest Model) - Walmart.com - Walmart.com             59 11:18 AM
                                                                                     7/24/20,




                                                                               5 stars                                      2328

   4.7            
                  2711 reviews
                                                                               4 stars
                                                                               3 stars
                                                                                           -
                                                                                           •
                                                                                                                            187
                                                                                                                            58
                                                                               2 stars                                      30
        See all reviews               Write a review                           1 star      •                                108




   Most helpful positive review                                                          Most helpful negative review
   11 customers found this helpful

                                                                                    

   Was reluctant to purchase these given the price
   point and wasn't sure if I would use them that much,
                                                                         0    VS         Okay so they are expensive and after months of
                                                                                         using it the top lid broke. I would expect apple to
   but these are awesome. High audio quality, good mic                                   make their products so me opening and closing it
   quality, love the compact case and the ability to                                     doesn't break the lid. It needs better quality casing. i
   easily use one earbud or both together. \n \nI have a                                 mean were paying big money here
                              See more                                                                         See more 


   Frequent mentions

                                                 (
   C  Sound (83)            Quality (49)             Price (42)          Gift (25)               Battery life (17)       Value (15)

   r Usage (11))           Fit (11)       See more



   1-10 of 2711 reviews


      Most relevant                   

   Sort by




   

   Was reluctant to purchase these given the price point and wasn't sure if I would use them that
   much, but these are awesome. High audio quality, good mic quality, love the compact case and the
   ability to easily use one earbud or both together. \n \nI have a Google Pixel 2 and occasionally have
   issues connecting, which can get a little frustrating. I was going to dock a star for that, but I've also
   accidentally washed these twice (once in the case and once without the case) and they survived, so
   they definitely earn that star back.

https://www.walmart.com/ip/Apple-AirPods-with-Charging-Case-La…3336297&wl5=9052127&wl6=105331780008&wl7=9052127&wl8=&veh=sem               Page 7 of 14
          Case 3:20-cv-00718-LAB-BLM Document 12-2 Filed 07/27/20 PageID.286 Page 37 of
Apple AirPods with Charging Case (Latest Model) - Walmart.com - Walmart.com             59 11:18 AM
                                                                                     7/24/20,

   they definitely earn that star back.
                                                   See more 

   codarus, June 23, 2020

    Walmart associate



        11            6       


             Air Pod 2 wired

   Purchased this as a birthday gift. The recipient was BEYOND pleased with this product. The
   product definitely EXCEEDED his expectations. He mentions how great they are on a daily basis.
   The sound quality is very clear and crisp. The battery life is also amazing.




                                                   See more 

   ShopperMom, July 3, 2020

    Verified purchaser

              Written by a customer while visiting samsclub.com




        0             0       


             Bought on black friday, great deal

   It's April and these are still going strong. I gave to my daughter for Christmas and normally by now
   she loses or breaks all her earbuds. These seem to work just like they did the first day, even with the
   delivery driver throwing them on my porch....anyway... great item, durable, but easy to lose so be
   careful.



                                                   See more 

   ProfessorSnape, April 8, 2020

    Verified purchaser



        3             2       


https://www.walmart.com/ip/Apple-AirPods-with-Charging-Case-L…3336297&wl5=9052127&wl6=105331780008&wl7=9052127&wl8=&veh=sem   Page 8 of 14
          Case 3:20-cv-00718-LAB-BLM Document 12-2 Filed 07/27/20 PageID.287 Page 38 of
Apple AirPods with Charging Case (Latest Model) - Walmart.com - Walmart.com             59 11:18 AM
                                                                                     7/24/20,




            My teen loves them!

   I bought these for my teenage daughter and she loves them! They can packaged nicely and pre
   charged! They were easy to set up and are easy to use. She loves how easy it is to change songs and
   answer calls. The battery life is great, she uses them all the time and has never had an issue with
   them lasting all day on a charge.



                                                   See more 




   Candice, March 11, 2020



        0             0       


            I like em!

   Surprised at how long they last without needing to be charged. The airpods themselves last a
   day/day and a half for me because I don’t extensively use them. That being said, the case could
   probably last around 3 to 4 days for me. Sound quality is pretty good too and they get pretty loud.
   The touch feature can get a little tricky though. Sometimes, I’ll tap on an AirPod to skip a song and
   it won’t work. I also noticed that the case itself tends to collect a lot of dust easily.


                                                   See more 




   Jenn, December 17, 2019



        0             0       


            Wow! what a great product.

   Wow what a great product. What I like about these Apple AirPods with Charging Case is that once
https://www.walmart.com/ip/Apple-AirPods-with-Charging-Case-L…3336297&wl5=9052127&wl6=105331780008&wl7=9052127&wl8=&veh=sem   Page 9 of 14
          Case 3:20-cv-00718-LAB-BLM Document 12-2 Filed 07/27/20 PageID.288 Page 39 of
Apple AirPods with Charging Case (Latest Model) - Walmart.com - Walmart.com             59 11:18 AM
                                                                                     7/24/20,


   Wow what a great product. What I like about these Apple AirPods with Charging Case is that once
   they are easily paired with your device they are Automatically on and automatically connected
   when your ready to use them. Setup couldn’t be easier just follow the handout and your up and
   running in seconds. They charge quickly in the case and even the case can be charged using the
   lightning connector. Listening to the high-quality audio and voice is a great experience. They also
   seamlessly switch between devices. I use them with my iPhone 6s mostly and my Lenovo laptop
                                                   See more 




   Huffstuff, December 10, 2019



        0             0       


   

   I haven’t used them much, but I do like them. The only thing that I would say about them would be
   the fact that they weren’t connecting to my phone real well the first couple times. I have nothing
   bad to say about them though, this has been the most I have spent on headphones and I am glad.




                                                   See more 




   Marie, January 6, 2020



        0             0       


            Love these

   I love these i wear them in a loud warehouse and it works really good. They last for atleast eight
   hours. I put one in at a time. Only think i dont like you can answer the phone



https://www.walmart.com/ip/Apple-AirPods-with-Charging-Case-L…3336297&wl5=9052127&wl6=105331780008&wl7=9052127&wl8=&veh=sem   Page 10 of 14
          Case 3:20-cv-00718-LAB-BLM Document 12-2 Filed 07/27/20 PageID.289 Page 40 of
Apple AirPods with Charging Case (Latest Model) - Walmart.com - Walmart.com             59 11:18 AM
                                                                                     7/24/20,




                                                   See more 

   Rosehelle, July 11, 2020

    Verified purchaser



        0             0       


            Earpods

   Not completely noise canceling earpods




                                                   See more 




   Casandra, April 17, 2020

    Verified purchaser



        0             0       


   

   Okay so they are expensive and after months of using it the top lid broke. I would expect apple to
   make their products so me opening and closing it doesn't break the lid. It needs better quality
   casing. i mean were paying big money here




                                                   See more 

   Z, July 7, 2020

    Verified purchaser
https://www.walmart.com/ip/Apple-AirPods-with-Charging-Case-L…3336297&wl5=9052127&wl6=105331780008&wl7=9052127&wl8=&veh=sem   Page 11 of 14
          Case 3:20-cv-00718-LAB-BLM Document 12-2 Filed 07/27/20 PageID.290 Page 41 of
Apple AirPods with Charging Case (Latest Model) - Walmart.com - Walmart.com             59 11:18 AM
                                                                                     7/24/20,


    Verified purchaser



        0              0      



   ( _______
         )
        See all 2711 reviews




   Customer Q&A
   Get specific details about this product from customers who own it.


        Ask a question

       Number of answers                   

   Sort by


   1-3 of 77 questions




                                                                                                                 4 Answers       
    This product seems to be the original AirPods - not the                                         Last answer: April 3, 2019

    wireless charging 2019 model. Is this correct?




                                                                                                                 3 Answers       
    What AirPods are these? Are these the 2 or 1st gen?                                          Last answer: March 28, 2019




https://www.walmart.com/ip/Apple-AirPods-with-Charging-Case-L…3336297&wl5=9052127&wl6=105331780008&wl7=9052127&wl8=&veh=sem      Page 12 of 14
          Case 3:20-cv-00718-LAB-BLM Document 12-2 Filed 07/27/20 PageID.291 Page 42 of
Apple AirPods with Charging Case (Latest Model) - Walmart.com - Walmart.com             59 11:18 AM
                                                                                     7/24/20,




                                                                                                                      3 Answers    
    Are these ear phones by APPLE? The description doesn't say                                       Last answer: March 28, 2019

    like the other ones do??




                                                                                      … 26
                                                  -1     2     3     4        5   6          




   Policies & Plans

   Warranty plan                            Walmart Protection Plans
   Pricing policy                           Most items come with a limited manufacturer’s warranty. The addition
                                            of a Walmart Protection Plan adds extra protection from the date of
   Returns                                  purchase. Walmart Protection Plans cover the total cost of repair, or
                                            replacement, for products, as well as covering delivery charges for the
                                            exchange.


                                            Walmart Protection Plan options and pricing can be found on the
                                            product page, as well as in your cart. Go
                                            to www.walmart.com/protection to see all the coverage offered for
                                            each product. You can view your Walmart Protection Plan after your
                                            purchase in the Walmart Protection Plan Hub.


                                            Product warranty: 1 Years
                                            See details 

                                            Already purchased your product? A Walmart Protection Plan can be
                                            added within 30 days of purchase. Click here to add a Plan.




https://www.walmart.com/ip/Apple-AirPods-with-Charging-Case-L…3336297&wl5=9052127&wl6=105331780008&wl7=9052127&wl8=&veh=sem        Page 13 of 14
          Case 3:20-cv-00718-LAB-BLM Document 12-2 Filed 07/27/20 PageID.292 Page 43 of
Apple AirPods with Charging Case (Latest Model) - Walmart.com - Walmart.com             59 11:18 AM
                                                                                     7/24/20,




   Related Pages :
   Portable Audio, Earbuds and In-ear Headphones, Wireless and Bluetooth Headphones, Sports Headphones, Headphone Cases,
   Samsung Headphones, Noise Cancelling Headphones, True Wireless Headphones




https://securepubads.g.doubleclick.net/pcs/view?



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                                                               Request My Personal Information

                                                               Tax Exempt Program




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https://www.walmart.com/ip/Apple-AirPods-with-Charging-Case-L…3336297&wl5=9052127&wl6=105331780008&wl7=9052127&wl8=&veh=sem                           Page 14 of 14
Case 3:20-cv-00718-LAB-BLM Document 12-2 Filed 07/27/20 PageID.293 Page 44 of 59




                        EXHIBIT F
7/24/2020Case    3:20-cv-00718-LAB-BLM Document     12-2WithFiled
                                           Apple AirPods           07/27/20
                                                            Wired Charging          PageID.294 Page 45 of 59
                                                                           Case : Target


   Target / ----
            Electronics / Headphones

   Apple AirPods with Wired Charging Case
   Shop all Apple




                                                                                           Snap a pic!
                                                                                       We'd love to see it!

                                                                                             Upload photo




                                                                               0   0


   $139.99 Sale
   Reg: $159.99 Save $20.00 (13% oﬀ)



   ** **- l--           1861 135 Questions



   111Save 5% every day with RedCard
   Learn more

   Or

   Starting at $12.64/month on $100+ orders with                      aff(r;;;\
   Learn more



       Quantity

   [    1


   D 2 Year Headphones & Speakers Protection Plan with Accidents coverage
            $40.00 See plan details


       Pick up today at Mira Mesa                                                               Pick it up
       Edit store
https://www.target.com/p/apple-airpods-with-wired-charging-case/-/A-54191097                                   1/9
7/24/2020Case    3:20-cv-00718-LAB-BLM Document     12-2WithFiled
                                           Apple AirPods           07/27/20
                                                            Wired Charging          PageID.295 Page 46 of 59
                                                                           Case : Target
       Edit store

       Ready within 4 hours for pickup inside the store.



       Same Day Delivery to 92130
       Edit zip code

       Not eligible for Same Day Delivery to this address



       Deliver to 92130                                                                            Ship it
       Edit zip code

       Get it by Wed, Jul 29 with free standard shipping




    ff
   Try free Drive Up, only-----
                           in the Target App.

                              ft      Add to registry


    Help us improve this page




                                                               About this item
                                                 Details          Shipping & Returns   Q&A (135)




           Highlights

            •   Automatically on, automatically connected

            •   Easy setup for all your Apple devices*

            •   Quick access to Siri by saying “Hey Siri”

            •   Double-tap to play or skip forward

            •   New Apple H1 headphone chip delivers faster wireless connection to your devices

            •   Charges quickly in the case

            •   Case can be charged using the Lightning connector


      Show more




https://www.target.com/p/apple-airpods-with-wired-charging-case/-/A-54191097                                   2/9
7/24/2020Case    3:20-cv-00718-LAB-BLM Document     12-2WithFiled
                                           Apple AirPods           07/27/20
                                                            Wired Charging          PageID.296 Page 47 of 59
                                                                           Case : Target


      This item:                                                       Frequently bought together




                                                         $169.99                          $249.99            $7.99
              $139.99
                                                 Apple AirPods with                Apple AirPods Pro    Apple Lightning to
       Apple AirPods with
                                                      Wireless                                               3.5mm
        Wired Charging
                                                  Charging Case                 D                      Headphone Adapter
             Case


 D                                            D                                                        D

                                                          Subtotal: $567.96 (4 items)


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                      This product is featured in a Target Finds Gift List

                                            Gift Ideas


                                            Just the gift for whoever needs
                                            celebrating.




https://www.target.com/p/apple-airpods-with-wired-charging-case/-/A-54191097                                             3/9
7/24/2020Case    3:20-cv-00718-LAB-BLM Document     12-2WithFiled
                                           Apple AirPods           07/27/20
                                                            Wired Charging          PageID.297 Page 48 of 59
                                                                           Case : Target




                                                               Recommended
                                      More to consider                  Similar items   Guests also bought




                             Sale: $169.99                                                        $199.99
                        Apple AirPods with Wir…                                            Bose SoundSport Free…
                                                                                                    sponsored




                                 $249.99                                                           $9.99
                             Apple AirPods Pro                                             heyday AirPod Case - …




                             $24.99 - $29.99                                                        $79.99
                           Catalyst AirPod Case                                            Apple Wireless Chargin…


                                                                        Show more (6)



https://www.target.com/p/apple-airpods-with-wired-charging-case/-/A-54191097                                         4/9
Case 3:20-cv-00718-LAB-BLM Document 12-2 Filed 07/27/20 PageID.298 Page 49 of 59




                        EXHIBIT G
7/24/2020Case    3:20-cv-00718-LAB-BLM Document
                                         Amazon.com:12-2    Filedwith
                                                     Apple AirPods 07/27/20
                                                                      Wired ChargingPageID.299
                                                                                     Case      Page 50 of 59


 □
  Skip to main content                All     apple airpods
                                                                                                            Hello, daryoosh              Returns                           0
                                                                                                            Account & Lists              & Orders        Prime                 Cart

     Deliver to Daryoosh
                                     daryoosh's Amazon.com      Fresh       Whole Foods      Shop for Business        Pantry                          Shop yard games & more
     San Diego 92130

    Apple Products   iPhone   iPad     Apple Watch     Mac notebooks      Mac desktops     Apple TV     Accessories       Beats by Dr. Dre




                                     Mac Accessories
                                                                I
                                                           iPhone Accessories      iPad Accessories      Apple Watch Accessories       Apple TV Accessories        AirPods Accessories




                                                                                         Apple AirPods                                        Share




  □
    Subm
                                                                                         with Wired
                                                                                                                                 $134.95
                                                                                         Charging Case                                          FREE One-Day

                                                       ,              • I                by Apple



  □
                                                                                                          83,407
    Subm

                     I·                                                                  ratings
                                                                                          |
                                                                                                                                 FREE delivery: Tomorrow
                                                                                                                                 Order within 14 hrs and 32 mins Details




  ~
                                                                                         1000+ answered questions
    Subm
                                                                                          Amazon's Choice       for "a…          In Stock.

                                                                                                                                 IQty:          I
  8                                                                                                                                1 Qty: 1
    Subm                                                                                 List Price: $159.00
                                                                                              Price: $134.95
                                                                                                              FREE One-Day                              Add
                                                                                                                                                      Add toto Cart
                                                                                                                                                             Cart


  I Subm                                                                                 You Save: $24.05 (15%)


                                                                                         Get $100 oﬀ instantly: Pay
                                                                                                                                                         Buy Now
                                                                                                                                                        Submit



  D Subm                                                                                 $34.95 $134.95 upon
                                                                                         approval for the Amazon
                                                                                         Prime Rewards Visa Card.
                                                                                         No annual fee.
                                                                                                                                 i     Secure transaction

                                                                                                                                 Ships from and sold by Amazon.com.

                                                                                                                                   D Add gift options
                                                                                         Available at a lower price              Add a Protection Plan:
                                                                                         from other sellers,
                                                                                                                                   D AppleCare+ for Headphones (2
                                                                                         potentially without free
                                                                                                                                       Years) for $29.00
                                                                                         Prime shipping.
                                 Roll over image to zoom in
                                                                                         Conﬁguration: AirPods                   Add an Accessory:

                                                                                           AirPods                                 D Apple Wireless Charging Case for
                                                                                                                                       AirPods $69.00

                                                                                           AirPods and AppleCare+                  D Apple 5W USB Power Adapter
                                                                                           Bundle                                      $16.99

                                                                                                                                   D Apple Lightning to USB Cable (1 m)
                                                                                         Style: AirPods + Charging                     $15.00
                                                                                         Case

                                                                                           AirPods + Charging                          Deliver to Daryoosh - San Diego 92130
                                                                                           Case

                                                                                                                                     Add to List
                                                                                           AirPods + Wireless
                                                                                           Charging Case

                                                                                                                                              Other Sellers on Amazon
                                                                                            Automatically on,
                                                                                            automatically connected            $145.00
                                                                                            Easy setup for all your
                                                                                                                                                                      IAdd to Cart
                                                                                                                                                                                     I
                                                                                                                               + Free Shipping
                                                                                            Apple devices                      Sold by: Adorama
                                                                                            Quick access to Siri by
                                                                                            saying “Hey Siri”                  $157.94                                IAdd to Cart
                                                                                                                                                                                     I
                                                                                            Double-tap to play or              + Free Shipping
                                                                                            skip forward                       Sold by: Expercom - Apple Premier Partner
                                                                                            New Apple H1
                                                                                            headphone chip delivers            $158.00                                IAdd to Cart
                                                                                                                                                                                     I
                                                                                            faster wireless                    + Free Shipping

https://www.amazon.com/Apple-AirPods-Charging-Latest-Model/dp/B07PXGQC1Q/ref=sr_1_1_sspa?crid=2VIHNFCRT1AV6&dchild=1&keywords=apple+airpo…                                            1/11
7/24/2020Case     3:20-cv-00718-LAB-BLM Document
                                          Amazon.com:12-2    Filedwith
                                                      Apple AirPods 07/27/20
                                                                       Wired ChargingPageID.300
                                                                                      Case      Page 51 of 59
                                                                                     connection to your        Sold by: DataVision Computer Video
                                                                                     devices
                                                                                     Charges quickly in the    New & Used (12) from $114.38
                                                                                     case                      FREE Shipping
                                                                                     Case can be charged
                                                                                     using the Lightning                    Have one to sell?
                                                                                     connector                               Sell on Amazon
                                                                                    Show more

                                                                                  Jump to: Compare devices
                                                                                    | Technical details


                                                                                                      Train
                                                                                                      iPhone



                                                                                  New & Used (12) from
                                                                                  $114.38        FREE
                                                                                  Shipping



  Special offers and product promotions
  Configuration: AirPods | Style: AirPods + Charging Case

         Save on COVID-19 supplies for organizations on the front lines. Learn more »




                                                                    AirPods
                                                       Simply take them out of the charging case, put them
                                                          in your ears, and they connect immed iately -
                                                             immersing you in rich, high-quality sound .




                                                            ,
                                                                  •




https://www.amazon.com/Apple-AirPods-Charging-Latest-Model/dp/B07PXGQC1Q/ref=sr_1_1_sspa?crid=2VIHNFCRT1AV6&dchild=1&keywords=apple+airpo…          2/11
7/24/2020Case   3:20-cv-00718-LAB-BLM Document
                                        Amazon.com:12-2    Filedwith
                                                    Apple AirPods 07/27/20
                                                                     Wired ChargingPageID.301
                                                                                    Case      Page 52 of 59




                         Wirelessto                                                   I

                         the fullest.                                                      \
                         After a simpl e one-tap setup , AirPods are
                         automatically on and always connected. 1
                         They sense when they 're in your ears and
                         pause when you take them out.




                                                                        Simplicityfrom
                                                                        start to Siri.
                                                                        Connecting to your iPhone is effortless.
                                                                        And you can share a song between two
                                                                        sets of AirPods ,2 or even have Siri
                                                                        announce your messages .3




                                                                        Performance
                                •                                       you'llwant
                                                                        to hear.
                                                                        Whether you 're playing games or
                                                                        listening to music , the H1 chip delivers a
                                                                        stable, low-latency wireless connection
                                                                        for high-quality sound.




https://www.amazon.com/Apple-AirPods-Charging-Latest-Model/dp/B07PXGQC1Q/ref=sr_1_1_sspa?crid=2VIHNFCRT1AV6&dchild=1&keywords=apple+airpo…   3/11
7/24/2020Case   3:20-cv-00718-LAB-BLM Document
                                        Amazon.com:12-2    Filedwith
                                                    Apple AirPods 07/27/20
                                                                     Wired ChargingPageID.302
                                                                                    Case      Page 53 of 59




                         The power of 24-hour
                         battery life.
                         AirPods are made to keep up with you, thanks to a
                         charging case that holds multiple charges for more
                         than 24 hours of listen ing time. 4

                         More than               Up to


                         24 hrs                  5 hrs                                   '\
                         of batt ery life with   of listening time
                         charging case           on one charge•




                        •Music
                                                                                                              .   -
                         Loseyourself in
                         60 millionsongs.0
                                                                                •   ·,


                                                                                     ••
                                                                                     ••
                         Compatibility

                         All the makingsof
                         a perfect pairing.




https://www.amazon.com/Apple-AirPods-Charging-Latest-Model/dp/B07PXGQC1Q/ref=sr_1_1_sspa?crid=2VIHNFCRT1AV6&dchild=1&keywords=apple+airpo…   4/11
Case 3:20-cv-00718-LAB-BLM Document 12-2 Filed 07/27/20 PageID.303 Page 54 of 59




                        EXHIBIT H
 Case 3:20-cv-00718-LAB-BLM Document 12-2 Filed 07/27/20 PageID.304 Page 55 of 59



       1    HARIRILAWGROUP
            RAMIN R. HARIRI (SBN: 251625)
       2    402 West Broadway , Floor 22
            San Diego, CA 92101
       3    Tel: (619) 363-2889
            Fax: (619) 810-0791
       4    Email: ramin@,haririlaw.com
       5 KHASHAYAR LAW GROUP
         DARYOOSH KHASHA YAR (SBN
       6 236496)
         TAYLOR MARKS (SBN 308381)
       7 12636 High Bluff Dr., Ste. 400
         San Diego, California 92130
       8 Phone: (858) 509-1550
         Fax: (858) 509-1551
       9 Email: daryoosh@mysdlawyers.com

       10 ATTORNEYS FOR PLAINTIFFS
       11                         UNITED STATES DISTRICT COURT
::::   12                      SOUTHERN DISTRICT OF CALIFORNIA
       13
       14 JASON THOMAS, Individually and             CASE NO.: 20-cv-0718-LAB-BLM
            on behalf of all others similarly
            situated,                                    Hon. Larry A. Bums
       16
                          Plaintiffs,                 Declaration of Danial Holzer
       17

       18      vs.                                    Action Filed on April 15, 2020
       19
          COSTCO WHOLESALE
       20 CORPORATION; DOES 1- 10,
          inclusive
       21
                    Defendants.



                  I, Danial Holzer, declare as follows:
                     1.   I purchased the Apple Airpods 2nd Generation from Costco located at
       26 Carmel Mountain road in Carmel Mountain Plaz.a in San Diego Ca, on or about
       27 Septemberof2019 .
       28
                                                     l
    Case 3:20-cv-00718-LAB-BLM Document 12-2 Filed 07/27/20 PageID.305 Page 56 of 59



         1         2.      I researched the product at the Costco website (vvww.costco .com)
         2   before purchasing, and in my review of the description of the product on the
         3   Costco website, it said that the product was wireless, and that it was wireless fully .
         4   When I made the purchase I was under the impression that the Airpods as well as
         s   the charging case were all wireless .
         6         3.      The verbiage used to describe the product online as well as the one
         7   ones in the store express that the entire package is wireless (both Airpods and
         8   charging case).
         9         4.      It was not until I got home and opened the box, that I realized that the
        10 charging unit they gave me was not wireless. When I purchased the Airpods I did it
        11 with the understanding that both the Airpods and charging case were wireless. I
        J2   would not have purchased this product if I would have known that the charging
        13   case was not wireless.
        14         5.      I went back and read the website again after my purchase , and it was
        15 very confusing, I still understand it to say that the entire thing is wireless and not
        16 only the Airpods.     I believe the description on the Costco website is misleading
        17 and leads people like myself to believe the entire product (both Airpod and box)
        18 are wireless.
        19         I declare under the penalty of perjury under the laws of the United States of
        20   America that the foregoing is true and correct. Executed this 23rd day of July
0
..,
0
        21   2020, in San Diego , California.
        22




        25
        26
        27

        28
                                                        2
Case 3:20-cv-00718-LAB-BLM Document 12-2 Filed 07/27/20 PageID.306 Page 57 of 59




                       EXHIBIT I
Case 3:20-cv-00718-LAB-BLM Document 12-2 Filed 07/27/20 PageID.307 Page 58 of 59




     1   HARIRI LAW GROUP
         RAMIN R. HARIRI (SBN: 251625)
     2   402 West Broadway, Floor 22
         San Diego, CA 92101
     3   Tel: (619) 363-2889
         Fax: (61g) 810-0791
     4   Email: ramin@haririlaw.com
     5   KHASHAYARLAWGROUP
         DARYOOSH KHASHA YAR (SBN
     6   236496)
         TAYLOR MARKS (SBN 308381)
     7   12636 High Bluff Dr., Ste. 400
         San Di)o, California 92130
     8   Phone: 58) 509-1550
         Fax: (8 8) 5'09-1551
     9   Email: daryoosh@mysdlawyers.com
    10   ATTORNEYS FOR PLAINTIFFS
    11                         UNITED STATES DISTRICT COURT
    12                      SOUTHERN DISTRICT OF CALIFORNIA
    13

    14   JASON THOMAS, Individually and           CASE NO.: 20-cv-0718-LAB-BLM
         on behalf of all others similarly
    15
         situated,                                 Hon. Larry A. Burns
    16

    17
                       Plaintiffs,                Declaration of Behnam Tabrizi
    18      vs.                                   Action Filed on April 15, 2020
    19
         COSTCO WHOLESALE
    20   CORPORATION; DOES 1-10,
    21
         inclusive
                   Defendants.




              I, Danial Holzer, declare as follows:
                  1.   I purchased the Apple Airpods 2nd Generation from Costco located at
    26
         Carmel Mountain road in Carmel Mountain Plaza in San Diego Ca, on or about
    27
         November 26, 2019.
    28
                                                  1
    Case 3:20-cv-00718-LAB-BLM Document 12-2 Filed 07/27/20 PageID.308 Page 59 of 59




         1          2.    I purchased it for my daughter who wanted the fully wireless Airpods.
         2   I researched the product at the Costco website (www .costco.com) before
         3   purchasing, and in my review of the description of the product on the Costco
         4   website, it said that the product was wireless, and that it was fully wireless, nothing
         5   on the site said that the charging case was not wireless. When I made the purchase
         6   I was under the impression that the Airpods as well as the charging case were all
         7   wireless.
         8          3.    The verbiage used to describe the product online express that the
         9   entire package is wireless (both Airpods and charging case).
                    4.    It was not until I got home and gave it to my daughter, that we
        11   realized that the charging case they gave me was not wireless. When I purchased
~       12   the Airpods I did it with the understanding that both the Airpods and charging case
        13   were wireless. My daughter wanted the fully wireless Airpods (both Airpods and
        14   case wireless). I would not have purchased this product if I would have known that
             the charging case was not wireless.
        16          5.    My daughter and I both went back and read the website again that
        17   night after my purchase, and it was very unclear, we were both arguing about what
        18   the description meant. I still understand it to say that the entire thing is wireless
        19   and not only the Airpods . I believe the description on the Costco website is
        20   misleading and leads people like myself to believe the entire product (both Airpod
        21   and case) are wireless.
        22          I declare under the penalty of perjury under the laws of the United States of
             America that the foregoing is true and correct. Executed this 23rd day of July
        24   2020, in San Diego , California.
        25

        26
        27

        28
                                                         2
